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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                    )
                                                             )                8:07CR25
                          Plaintiff,                         )
                                                             )
        vs.                                                  )                  ORDER
                                                             )
MICHAEL FLOWERS and                                          )
MALISA MONROE,                                               )
                                                             )
                          Defendants.                        )



        This matter is before the court on the motion to continue by defendant Michael Flowers (Flowers)

(Filing No. 47). Flowers seeks a continuance of the trial of this matter scheduled for April 30, 2007. Upon

consideration, the motion will be granted and trial will be continued for all defendants .



        IT IS ORDERED:

        1.       Flower's motion to continue trial (Filing No. 47) is granted.

        2.       Trial of this matter for all defendants is re-scheduled for June 4, 2007, before Chief Judge

Joseph F. Bataillon and a jury. The ends of justice have been served by granting such motion and

outweigh the interests of the public and the defendant in a speedy trial. The additional time arising as a

result of the granting of the motion, i.e., the time between April 25, 2007 and June 4, 2007, shall be

deemed excludable time in any computation of time under the requirement of the Speedy Trial Act for the

reason that defendant's counsel requires additional time to adequately prepare the case. The failure to

grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).



        DATED this 25th day of April, 2007.

                                                             BY THE COURT:

                                                             s/ Thomas D. Thalken

                                                             United States Magistrate Judge
